     Case 1:99-cr-20018-DML ECF No. 955, PageID.561 Filed 06/25/07 Page 1 of 10




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

DOUGLAS LIDDELL,

                        Petitioner,                           Civil No. 04-10010
v.                                                            Criminal No. 99-20018
                                                              Honorable David M. Lawson
UNITED STATES OF AMERICA,

                  Respondent.
______________________________________/

          OPINION AND ORDER DENYING MOTION TO VACATE SENTENCE

         On March 30, 2001, the petitioner was found guilty by a jury of conspiracy to possess

cocaine, cocaine base, heroin, and marijuana with intent to distribute in violation of 21 U.S.C. § 846

and possession of marijuana in violation of 21 U.S.C. § 844(a). On September 20, 2001, the

petitioner was sentenced to 121 months on the conspiracy count and 24 months on the possession

count, to run concurrently. The court of appeals affirmed the convictions on May 22, 2003.

         The petitioner thereafter filed eight motions under 28 U.S.C. § 2255. Many of these briefs

are identical, and all of them raise only two issues. The petitioner claims he is entitled to relief

under Blakely v. Washington, 542 U.S. 296 (2004), and United States v. Booker, 543 U.S. 220

(2005), and he argues that criminal history points were assigned erroneously under U.S.S.G. §

4A1.1(b) and (d). The government filed one response brief on March 17, 2004, and the petitioner

filed two identical replies on March 31 and April 14, 2004. The Court now finds that the petitioner’s

claims either lack merit or are procedurally defaulted. The Sixth Circuit has held that Booker is not

retroactive, and the petitioner failed to raise his claims regarding his criminal history score by

objecting at sentencing or arguing them on appeal. Therefore, the motion to vacate sentence will

be denied.
  Case 1:99-cr-20018-DML ECF No. 955, PageID.562 Filed 06/25/07 Page 2 of 10




                                                  I.

       On February 25, 1999, a federal grand jury returned a multi-count indictment charging the

petitioner and several others with conspiracy to possess and distribute crack cocaine, powder

cocaine, heroin, and marijuana. On September 27, 2000, a second superseding indictment was filed

charging the petitioner and twenty-one others with various drug and gun crimes. The petitioner was

charged with conspiracy to possess and distribute various illegal controlled substances in violation

of 21 U.S.C. § 846 (count 1); possession of heroin (count 36); and possession of marijuana (count

37). The indictment alleged that the conspiracy began at an unknown date and continued until July

6, 1999; the possession offenses were alleged to have been committed on December 3, 1998. Many

members of the conspiracy pleaded guilty, and on March 1, 2001, a jury trial commenced against

the petitioner and five other defendants. On March 30, 2001, the jury returned its verdict finding

the petitioner guilty of conspiracy to possess with intent to distribute less than 100 grams of heroin

on count one and guilty of possession of an unspecified amount of marijuana on count thirty-seven.

       The petitioner’s presentence report (PSR) recommended an offense level of 32 after

concluding that the petitioner was responsible for the distribution of 1,300 kilograms of marijuana

equivalency. The PSR reported the petitioner’s criminal history as consisting of a state court

conviction of delivery of narcotics under 50 grams, and receiving and concealing weapons. The

state court sentenced the petitioner on the drug charge to twelve months imprisonment followed by

lifetime probation. He was released from state custody on November 29, 1995. Because the

petitioner was on probation when the offense occurred, two points were added to his criminal history

score pursuant to U.S. Sentencing Guidelines Manual § 4A1.1(d) (Nov. 1, 2000). The probation

department also concluded that the petitioner became involved in the conspiracy in 1996, stating:


                                                 -2-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.563 Filed 06/25/07 Page 3 of 10




       In 1996, Sheila Stinson began buying heroin from Ruby Liddell in an attempt to
       make some money. Sheila Stinson bought one to two grams from Ruby Liddell on
       an average of once or twice per week for six months. She stopped buying heroin
       from Ruby Liddell when she became addicted to heroin and then she bought heroin
       from DOUGLAS LIDDELL, Eddie Isom and others. Sheila Stinson bought $50.00
       (approximately .3 of a gram) or $100.00 (approximately .6 of a gram) amounts of
       heroin from DOUGLAS LIDDELL three to four times per day for approximately 18
       months. On at least ten occasions, Sheila Stinson was asked by DOUGLAS
       LIDDELL to deliver $50.00 amounts of heroin to other customers of Ruby Liddell.
       Sheila Stinson was paid with heroin for her efforts on each of these occasions.
       Sheila Stinson obtained heroin from Eddie Isom at least five times. On each of these
       occasions, Sheila Stinson obtained a “paper” of heroin which would be
       approximately .1 of a gram. Ruby Liddell, DOUGLAS LIDDELL, and Eddie Isom
       would come to Sheila Stinson’s home and discuss selling heroin. Sheila Stinson
       believed that Ruby Liddell was supplying heroin to DOUGLAS LIDDELL and
       Eddie Isom as well as Leroy Austin who also sold heroin to Sheila Stinson on
       occasion.

PSR ¶ 21. Because the petitioner participated in the conspiracy less than two years after his release

from state custody, another point was added to the petitioner’s criminal history score pursuant to

U.S.S.G. § 4A1.1(e). This resulted in a criminal history score of five, which placed the petitioner

in criminal history category of III. The probation department recommended a sentence range of 151

to 188 months.

       The petitioner filed objections to the PSR on several grounds. He specifically objected to

the imposition of an additional criminal history point under U.S.S.G. § 4A1.1(e) based on the

commission of the offense less than two years after his release from state custody. He did not object

to the imposition of two points due to the fact that he was on probation at the time the crime was

committed.

       The government responded by filing a sentencing memorandum on September 7, 2004 in

which it argued that the facts introduced at trial supported the factual narrative in the PSR. On

September 13, 2004, the government filed a supplemental sentencing memorandum setting forth the


                                                -3-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.564 Filed 06/25/07 Page 4 of 10




amount of drugs for which it believed the petitioner should be held accountable (equivalent of

18,959.17 kg of marijuana). This amount corresponds to an offense level of 36. On September 20,

2004, the petitioner filed a response to the supplemental sentencing memorandum in which he

contended that he was not connected with many of the drug transactions listed in the government’s

memoranda.

       At the sentence hearing on September 20, 2001, the Court found that the petitioner was

accountable only for 977 kilograms of marijuana equivalency, resulting in a a base offense level of

30. The petitioner did not challenge his criminal history score, and the sentencing range was found

to be 121 to 151 months in custody. A mandatory minimum sentence of 120 months applied to the

conviction on count 1. The Court sentenced the petitioner to 121 months on count 1 and 24 months

on count 37, to run concurrently.

       The petitioner appealed to the Sixth Circuit, raising three arguments. First, he argued that

his sentence violated due process because he was sentenced using drug quantities which were not

specifically found by the jury. The court of appeals rejected this argument because the sentence

imposed was below the statutory maximum allowed for the crimes. The petitioner next argued that

the Court erred in applying a preponderance of the evidence standard at sentencing. The jury found

the petitioner responsible for less than 100 grams of heroin, however the Court found him

responsible for 977 kilograms of marijuana equivalency, which increased the petitioner’s sentence.

The court of appeals rejected this argument as well. The court concluded that McMillan v.

Pennsylvania, 477 U.S. 79 (1986), “requires that evidence used for sentencing be found only by a

preponderance of the evidence.” United States v. Liddell, 64 Fed. Appx. 958, 961 (6th Cir. 2003)

(unpublished). The petitioner’s final argument was that the evidence did not support a finding, even


                                                -4-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.565 Filed 06/25/07 Page 5 of 10




under the preponderance standard, that he was responsible for 977 kilograms of marijuana

equivalency and the Court relied on unreliable witnesses in coming to its conclusion. The court of

appeals found no clear error in this Court’s credibility determinations. The court of appeals affirmed

the convictions on May 22, 2003. United States v. Liddell, 64 Fed. Appx. 958 (6th Cir. May 22,

2003) (unpublished). The petitioner did not petition for certiorari to the Supreme Court.

       As noted above, the petitioner filed eight motions for relief under section 2255. However,

together all of these motions raise but two arguments, and there is no need to evaluate the motions

as successive petitions. First, the petitioner argues that the Court erred in using a preponderance of

the evidence standard to determine the quantity of drugs for which he should be sentenced. Second,

the petitioner contends that his criminal history score was wrongly scored under U.S.S.G. §

4A1.1(b), (d).

                                                  II.

                                                  A.

       The petitioner’s first argument is that he is entitled to relief under Blakely v. Washington, 542

U.S. 296 (June 24, 2004), and United States v. Booker, 543 U.S. 220 (Jan. 12, 2005), because the

Court used a preponderance of the evidence standard in determining the quantity of drugs for which

he was accountable for sentencing purposes. However, the Sixth Circuit has held that Booker “does

not apply retroactively to cases already final on direct review.” Humphress v. United States, 398

F.3d 855, 857 (6th Cir. 2005). The court recently reaffirmed the holding of Humphress in Lang v.

United States, 474 F.3d 348, 353-57 (6th Cir. 2007). The petitioner’s case became final on August

20, 2003, ten months prior to Blakely and almost a year and five months before Booker was decided.

This claim must therefore be rejected.


                                                 -5-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.566 Filed 06/25/07 Page 6 of 10




        In Humphress, the court explained the law as follows:

        Generally speaking, federal habeas corpus petitioners may not rely on new rules of
        criminal procedure handed down after their convictions have become final on direct
        appeal. Schriro v. Summerlin, 542 U.S. 348 (2004). In Teague v. Lane, 489 U.S.
        288 (1989), however, the Supreme Court announced a three-step analysis to
        determine whether a new rule of criminal procedure applies to a case on collateral
        review. The reviewing court must first determine when the defendant’s conviction
        became final. Beard v. Banks, 542 U.S. 406 (2004). Next, the court must decide
        whether the rule in question is actually “new.” Id. If it is, the court must determine
        whether the new rule falls into either of two exceptions to nonretroactivity. Id.

Humphress, 398 F.3d at 860 (footnote omitted). The court then determined that Booker is a new

rule, but that it does not fall within either exception to non-retroactivity.

        The petitioner failed to extend his appeal following the Sixth Circuit’s decision affirming

his convictions on May 22, 2003. His conviction therefore became final ninety days later, on August

20, 2003. See Humphress, 398 F.3d at 860. This Court must therefore “assay the legal landscape”

as of August 20, 2003 and “ask ‘whether the rule later announced in [Booker] was dictated by then-

existing precedent – whether, that is, the unlawfulness of [respondent’s] conviction was apparent

to all reasonable jurists.” Ibid (alterations in original) (quoting Beard, 542 U.S. at 413). “The

Booker rule is clearly new. It was not dictated by precedent existing at the time” the petitioner’s

conviction became final in August 2003. Humphress, 398 F.3d at 861. Blakely had not even been

decided at that time. The final step is to “determine whether the new rule falls into either of two

exceptions to nonretroactivity.” Humphress, 98 F.3d at 860. The first exception applies when the

new rule forbids punishment of certain conduct or “‘prohibit[s] a certain category of punishment for

a class of defendants because of their status or offense.’” Id. at 862 (quoting Beard, 542 U.S. at

416). Booker does not do this. The second exception applies to “watershed rules of criminal

procedure implicating the fundamental fairness and accuracy of the criminal proceeding.” Ibid.


                                                  -6-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.567 Filed 06/25/07 Page 7 of 10




(quoting Beard, 542 U.S. at 416). “The Supreme Court has never held that a new rule of criminal

procedure falls within Teague’s second exception. Beard, 124 S.Ct. at 2513-14. We hold that

Booker’s rule does not either.” Humphress, 398 F.3d at 863. The petitioner’s first claim, therefore,

must be rejected.

                                                  B.

         The petitioner’s remaining claim is that the Court erred by adding points to his criminal

history score under U.S.S.G. § 4A1.1(b), which adds two points for each prior sentence of

imprisonment between 60 days and 13 months in length, and U.S.S.G. § 4A1.1(d), which applies

when a defendant commits a crime while under a criminal justice sentence, including probation.

The petitioner contends that section 4A1.1(d) should not apply because his state probation had been

dismissed, and therefore he should not have received an additional two criminal history points. As

evidence, the petitioner has submitted what appears to be an order from the Saginaw County circuit

court discharging him from probation. Although the petitioner cites 4A1.1(b) and asserts that the

Court erred in enhancing his sentence under that provision, he does not explain the basis for this

claim.

         The government argues that this claim is not reviewable because the petitioner did not object

to the enhancement in this Court or on direct appeal. A claim that could have been raised on direct

appeal is not reviewable in a section 2255 motion unless the petitioner can demonstrate cause and

prejudice, and according to the government, the petitioner has made no such showing. The

government also argues that the claim regarding the sentencing enhancement is not a claim of

constitutional magnitude justifying relief under section 2255. Finally, the government states the

petitioner’s claim has no merit.


                                                  -7-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.568 Filed 06/25/07 Page 8 of 10




       The petitioner filed a reply brief asserting ineffective assistance as cause and prejudice for

his failure to object to the sentencing enhancement in this Court or the court of appeals. The

petitioner contends that he “emphatically” told his attorney to challenge the criminal history points.

The petitioner contends that his attorney should have spoken to the probation officer and the

probation officer would have told the petitioner’s attorney that the petitioner was about to be

released from probation.

       The government is correct that this claim is procedurally defaulted. Because the petitioner

failed to appeal this issue, his claims are procedurally barred unless he can establish both cause and

prejudice. Bousley v. United States, 523 U.S. 614, 621-22 (1998). A “claim of ineffective assistance

of counsel . . . can serve as both cause and prejudice, excusing a procedural default in an underlying

substantive claim.” Franklin v. Anderson, 434 F.3d 412, 418 (6th Cir. 2006). However, “there can

be no constitutional deficiency in appellate counsel’s failure to raise meritless issues.” Mapes v.

Coyle, 171 F.3d 408, 413 (6th Cir. 1999). The petitioner’s claims regarding his criminal history

points have no merit, and therefore his attorney was not ineffective for failing to raise them.

Therefore, they are procedurally barred.

       The Sentencing Guidelines in effect at the time of the petitioner’s sentencing contained the

following provision:

       § 4A1.1. Criminal History Category
       The total points from items (a) through (f) determine the criminal history category
       in the Sentencing Table in Chapter Five, Part A.
       (a) Add 3 points for each prior sentence of imprisonment exceeding one year and one
       month.
       (b) Add 2 points for each prior sentence of imprisonment of at least sixty days not
       counted in (a).
       ...




                                                 -8-
  Case 1:99-cr-20018-DML ECF No. 955, PageID.569 Filed 06/25/07 Page 9 of 10




       (d) Add 2 points if the defendant committed the instant offense while under any
       criminal justice sentence, including probation, parole, supervised release,
       imprisonment, work release, or escape status.

U.S.S.G. § 4A1.1 (2001). The petitioner has submitted an order discharging him from the state court

probation that triggered the application of section 4A1.1(d), but the order is dated November 5,

2001, and the petitioner participated in the conspiracy beginning in 1996. The petitioner has not

submitted any evidence that he was not on probation in 1996 when the crime was committed. In

fact, according to the state probation officer, the only reason the petitioner was discharged from

probation is due to his conviction in this Court. The discharge order contains the probation officer’s

reasons for asking the state court to discharge the petitioner from probation, and Probation Officer

Russell C. Ray cites the petitioner’s convictions by a jury of count one and count thirty-seven and

this Court’s sentence of 121 months in custody to be followed by six years of supervised release.

The petitioner has presented no evidence or argument supporting his claim that 4A1.1(b) does not

apply. This claim must be rejected.

                                                   III.

       The Court finds that the petitioner has not established that the sentence in this case was

imposed in violation of the Constitution or laws of the United States. The petitioner, therefore, is

not entitled to relief under 28 U.S.C. § 2255.

       Accordingly, it is ORDERED that the petitioner’s motions to vacate sentence [dkt. # 886,

910, 912, 925, 926, 931, 933, 935] are DENIED.

                                                 s/David M. Lawson
                                                 DAVID M. LAWSON
                                                 United States District Judge

Dated: June 25, 2007


                                                   -9-
Case 1:99-cr-20018-DML ECF No. 955, PageID.570 Filed 06/25/07 Page 10 of 10




                                          PROOF OF SERVICE

                  The undersigned certifies that a copy of the foregoing order was served
                  upon each attorney or party of record herein by electronic means or first
                  class U.S. mail on June 25, 2007.

                                                    s/Felicia M. Moses
                                                    FELICIA M. MOSES




                                                   -10-
